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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )             Case No. CR03-516-JCC
09               Plaintiff,               )
                                          )
10         v.                             )             SUMMARY REPORT OF U.S.
                                          )             MAGISTRATE JUDGE AS TO
11   JENEVA RAE WOHLFORD,                 )             ALLEGED VIOLATIONS
                                          )             OF SUPERVISED RELEASE
12               Defendant.               )
     ____________________________________ )
13

14          An initial hearing on a petition for violation of supervised release was held on July 24,

15 2006 before the Honorable Mary Alice Theiler. At the hearing, the defendant was advised of her

16 rights and of the alleged violations. Denials to the allegations were entered, and this matter was

17 set for an August 7, 2006 evidentiary hearing before the undersigned Magistrate Judge. The

18 defendant was detained. The United States was represented by Assistant United States Attorney

19 Don Currie, and the defendant by Mr. Ralph Hurvitz. The proceedings were recorded on cassette

20 tape.

21          The defendant had been charged and convicted of Conspiracy to Commit Bank Fraud in

22 violation of 18 U.S.C. §§ 1344 and 2. On or about June 18, 2004, defendant was sentenced by

23 the Honorable John C. Coughenour to twenty-two (22) days imprisonment to be followed by

24 three (3) years of supervised release.

25          The conditions of supervised release included the requirements that the defendant comply

26 with all local, state, and federal laws, and with the standard conditions. Special conditions

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01 imposed, but not limited to, were drug aftercare, search and restitution.

02          In a Petition for Warrant or Summons and a Violation Report and Warrant Request, both

03 dated June 8, 2006, Senior U.S. Probation Officer Jennifer J. Tien asserted the following

04 violations by defendant of the conditions of her supervised release:

05          (1)     Being under the influence of a controlled substance (methamphetamine) on or

06 about January 8, 2006, in Tulare County, California, in violation of the general condition that the

07 defendant not commit and federal, state or local crimes.

08          (2)     Shoplifting on or about January 18, 2006, in Tulare County, California, in violation

09 of the general condition that the defendant not commit any federal, state or local crimes.

10          (3)     Failing to notify the probation officer of being arrested or questioned by law

11 enforcement within 72 hours, in violation of standard condition number 11.

12          (4)     Using methamphetamine on or before January 10, 2006, and April 4, 2006, in

13 violation of standard condition number 7.

14          (5)     Failing to report for urinalysis testing on January 9, 18, 2006, February 3, 2006,

15 March 6, 22, 2006, April 3, 20, 2006, and May 4, 2006, as directed by the U.S. Probation Officer,

16 in violation of the special condition of drug aftercare.

17          (6)     Failing to submit monthly supervision reports for the months of January, February,

18 March, and April 2006, in violation of standard condition number 2.

19          (7)     Leaving the judicial district without permission on or about January 22, 2006, in

20 violation of standard condition number 1.

21          (8)     Failure to report change of residence 10 days prior to any change in residence, in

22 violation of standard condition number 6.

23          At the evidentiary hearing, the government was represented by Assistant United States

24 Attorney Norman Barbosa. The defendant was represented by Mr. Ralph Hurvitz. The

25 proceedings were recorded on cassette tape. The defendant was again advised of the allegations

26 and her rights. She has admitted the alleged violations numbered 3, 4, 5, 6, 7, and 8 above and

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01 waived any rights to an evidentiary hearing as to whether they occurred. The government

02 withdrew alleged violations numbered 1 and 2 above.

03          I therefore recommend that the Court find the defendant to have violated the terms and

04 conditions of her supervised release as to violations 3, 4, 5, 6, 7, and 8, and that the Court

05 conduct a hearing limited to disposition. A date for the disposition hearing on these violations

06 before the Honorable John C. Coughenour has not yet been set.

07          Pending a final determination by the Court, the defendant has been detained.

08          DATED this 7th day of August, 2006.

09
                                                         s/ James P. Donohue
10                                                       United States Magistrate Judge

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13 cc:      District Judge:               Honorable John C. Coughenour
            AUSA:                         Mr. Norman Barbosa
14          Defendant’s attorney:         Mr. Ralph Hurvitz
            Probation officer:            Ms. Jennifer J. Tien
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